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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA.                         )
                                                  )
                 Plaintiff.                       )
                                                  )
vs.                                               ) CRIMINAL NUMBER: 2I-30023-SPM
                                                  )
KEVIN HUTCHINSON.                                 )
                                                  )
         Defendant.                               )

                                      STIPULATION OF FACTS

         Comes now Steven D. WeinhoefL. United States Attorney for die Southern District of

Illinois, and Norman R. Smith, Assistant United States Attorney for said District, and herewith

enters into the following Stipulation of Facts with the Defendant, Kevin Hutchinson and his

counsel, Clyde Kuehn.

                 Kevin Flutchinson was the elected Mayor of the City of Columbia, Monroe County,

within the Southern District of Illinois.

         9
                 Kevin Flutchinson was also a licensed insurance agent who owned a closely held Illinois

corporation called B.M.C. Associates, Inc.

         a.      The City of Columbia provides health insurance coverage for its employees and separately

maintains property/casualty loss insurance. Unbeknownst to the city council or the city manager, Kevin

      Hutchinson, and his corpoi'ation B.M.C. Associates, Inc., received referral commissions from the

insurance contracts that the City of Columbia placed with MRCT and ICRMT.

         4.      As an elected municipal official and a public officer Kevin Hutchinson was prohibited,

under the Illinois Public Officer Prohibited Activities Act[65ILCS 5/3.1-55-10(a)], from being financially

interested, directly or indirectly, in any contract, work or business of the municipality.

         5,      The Illinois Governmental Ethics Act i-equired Kevin Flutchinson to truthfully complete

an annual Statement of Economic Interests and file it with the County Clerk. On June 28, 2018, Kevin
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Hutchinson filed a false Statement of Economic Interests with the Monroe County Clerk stating that he


did not have a personal financial interest, directly or indirectly, in any contract, work or business of the

municipality.

        6.       The Southern Illinois Public Corruption Task Force consisted of agents with the Federal

Bureau of Investigation, Internal Revenue Service/Criminal Investigations, and a Task Force Officer from

the Illinois State Police. The Task Force opened a federal criminal investigation to determine whether

Columbia Mayor Kevin Hutchinson had violated federal law after learning that Kevin Hutchinson


received insurance policy referral commissions for a health insurance policy for the City of Columbia

employees.

        7.       On or about March 20, 2019, affecting Monroe County within the Southern District of

Illinois, and elsewhere, Kevin Hutchinson, did willfully and knowingly make, and cause to be made,


materially false statements and representations in a matter within the jurisdiction of a department or

agency of the United States by falsely telling a Federal Bureau of Investigation Special Agent and a

federal Task Force Officer that his only interest in MRCT’s contract with the City of Columbia was in his

official capacity as the Mayor of the City of Columbia. The statement was materially false in that Kevin


Hutchinson had received refeiral commissions for City insurance policies placed with MRCT as well as

from ICRMT.

SO STIPULATED:


                                                          STEVEN D. WEINHOEFT
                                                          United State^Attorney



KEVIN HUTCHINSON                                          noM^I^Ii. si^iTEf ''               ^
Defendant                                                 Assistant United States Attorney

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CLYDE KUEHh^
Attorney for Defendant
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Date:
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